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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK |!
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7 FEB 19 2020.

United States of America,

—V—

18-cr-224 (AJN)
Ali Sadr Hashemi Nejad,

ORDER
Defendant.

 

 

ALISON J. NATHAN, District Judge:

Trial will commence at 9 a.m. on Monday, March 2, 2020.

For planning purposes, the Court informs the parties that it will not be available to sit on
Friday, March 20, 2020 and Monday, March 23, 2020. The Court will sit on Friday, March 6,
2020 and will inform the parties during trial whether it will sit on Friday, March 13, 2020.

If the trial has not concluded by Thursday, March 19, 2020, it will resume on Tuesday,

March 24, 2020.

SO ORDERED.

Dated: February \ 4 , 2020
New York, New York

      

 

ALISON J. NATHAN
United States District Judge

 
